    2:18-cv-03326-RMG       Date Filed 03/27/19   Entry Number 239      Page 1 of 8



                     IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION

South Carolina Coastal Conservation League, )         C/A No.: 2:18cv3326
et al,                                      )
                                            )         RULE 26(F) REPORT
v.                                          )
                                            )
Wilbur Ross, et al.                      )


             The parties, having consulted pursuant to Rule 26(f), Fed. R. Civ. P.,
hereby report as follows (check one below):

_______      We agree that the schedule set forth in the Conference and Scheduling Order
             issued February 20, 2019 is appropriate for this case. The parties' proposed
             discovery plan as required by Fed. R. Civ. P. Rule 26(f) and the information
             required by Local Civil Rule 26.03 will be separately filed by the parties.

_______      We agree that the schedule set forth in the Conference and Scheduling Order
             issued February 20, 2019 requires modification as set forth in the attached
             proposed Consent Amended Scheduling Order (use same format as the
             Court’s standard scheduling order attached hereto). The parties' proposed
             discovery plan as required by Fed. R. Civ. P. Rule 26(f) and the information
             required by Local Civil Rule 26.03 will be separately filed by the parties.

_______      We are unable, after consultation, to agree on a schedule for this case.
             Therefore, we request a scheduling conference with the Court. The parties'
             proposed discovery plan as required by 26(f) Fed. R. Civ. P., with
             disagreements noted, and the information required by Local Civil Rule 26.03
             will be separately filed by the parties.
     2:18-cv-03326-RMG        Date Filed 03/27/19    Entry Number 239          Page 2 of 8




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      2:18-cv-03326-RMG          Date Filed 03/27/19   Entry Number 239        Page 4 of 8




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    2:18-cv-03326-RMG         Date Filed 03/27/19   Entry Number 239        Page 6 of 8




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    2:18-cv-03326-RMG       Date Filed 03/27/19   Entry Number 239        Page 7 of 8




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     2:18-cv-03326-RMG         Date Filed 03/27/19   Entry Number 239   Page 8 of 8




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